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 The Honorable Senior Judge T.S. Ellis, III                                                              September 2, 2015
 Albert V. Bryan US Courthouse 401
 Courthouse Square Alexandria, VA 22314

 Dear Judge Ellis, III,

 My name is James Arcieri, and having served as a character reference for Muneeb Akhter's top secret clearance last year, I feel a
 sense of obligation to him, this court, and my government on explaining my convictions which compelled me to stand by him
 then, and again today via this letter and in person, if required. Throughout my personal life whether it be as a manager at IBM;
 running my own startup; growing up on the farms of Franklin, VA; surviving college in D.C.; to living in NYC, I've been very
 fortunate to meet hundreds of talented and gifted people, but few of them come close to the qualities that Muneeb carries.
 Granted, I would not consider myself the brightest bulb on the chandelier, but I believe my strengths are in getting all the bulbs
 to light up. I've spent my whole life trying to become better at understanding people and the complexities behind interpersonal
 skills. I believe that is why Muneeb chose me as a character reference along with at least 11 other colleagues

 Truth be told, we need people in society with his qualities. Muneeb has: optimism, imagination, creativity, leadership, integrity,
 courage, boldness, perseverance, commitment to excellence, reverence for the past, hope for tomorrow; faith in his fellow man, a
 strong work ethic, a tolerance for risk, compassion for people, love for family, and faith in God.

 I experienced these aforementioned qualities while attending school together at George Mason University. Muneeb is talented,
 which is not what is in question, but rather his character and if he can be trusted to use his talents for good. I believe that we have
 a first time offender who made a serious mistake; however, it was a mistake from a place of naivety. Similar to that of a child not
 knowing better when touching a hot stove for the first time. Yes, he is an adult, but the natural desire of a prodigy, which I
 consider Muneeb to be, is to consistently push their skills to the limits. Which is why, I honestly believe that if Muneeb were
 truly aware of the risks being undertaken, then he would have never made those decisions.

 But, why would he never have made those decisions, you might ask? Well, this stems from Muneeb and his brother being
 responsible for taking care of their grandmother in Northern Virginia. This is why these boys pushed themselves to be the best
 and graduate youngest in their graduating class. This is why, if given leniency, I believe Muneeb would never perform acts of a
 similar nature. In addition, Muneeb probably has one of the strongest moral compasses I know. He doesn't drink Alcohol, cares
 more about tinkering with technology than distractions of the flesh; is slow to anger and very open-minded towards other's
 viewpoints. Him and I had amazingly deep conversations about Christianity (Me) and Islam (Muneeb); was open to attending a
 Christian event, since I came to a Muslim Student Association’s (MSA) event. ***See photo attached; I’m wearing bright red
 pants, center of the photo with Muneeb sitting to my left recording the event – he was the president of MSA.

 Winston Churchill once said, "All men make mistakes, but only wise men learn from them". I thoroughly believe that we have an
 example of a highly talented, yet naive young man that made an honest mistake to test his skills to their limitations.

 This leads me to believe it would do society a disservice if we locked him away, instead of putting his talents to use on a
 probation program of some sort, which would allow his unusual skills to stay sharp, grow and benefit society. Perhaps some type
 of program where he presents the seriousness of one's actions in dealing with computers, explaining proper channels for testing
 one's skill, teaching the younger generation that coding is fun, but it's also a very powerful tool that needs to be respected; thus
 creating an opportunity to redeem himself.

 For the time that I've known Muneeb, I can ensure you that I know he is completely embarrassed and remorseful for the pain he
 caused his grandmother, family and friends and will take this learning experience as an engineer does and create plans to
 mitigate this from ever happening again.

 I cam only hope you will consider the value he can provide. It would be a shame to see such talent and unalloyed remorse go to
 waste in prison. In addition, I am willing to take responsibility for him by employing him at my startup as an intern to prove
 himself.

 Sincerely,
 James Michael Arcieri
